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                  UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNS\'L,VANIA

UNITED STATES OFAMERICA                :   NO. 4:20-CR-267

                                           (JUDGE BRANN)

ERNEST STONEBRAKER.                        (electronically filed)
        Defendant.

                            PLEAAGREEMENT

     The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania

A. Viotration(s). Penalties. and Dismissal of Other Counts

    1.   Guiltv plea. The defendant a grees to plead guilty to Count 9

         and Count 12 ofthe Superseding Indictment. Count 9 charges

         the defendant with a violation of Title 18, United States Code,   $


         f OZ8A(d(1),   Aggravated Identity Theft. The maximum penalty

         for that offense is imprisonment for a period of 2 years, a fine of

         $250,000, a maximum term of supervised release of 1 year,

         which shall be served at the conclusion of, and in addition to,
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  any term of imprisonment, as well as the costs of prosecution,

  imprisonment, probation, or supervised release ordered, denial

  of certain federal benefits, and an assessment in the amount of

  $100. Count 12 likewise charges the defendant with a violation

  of Title 18, United States Code, $ fOZAA(a)(1), Aggravated

  Identity Theft. The maximum penalty for that offense is also

  imprisonment for a period of 2 yearc, a fine of $250,000, a

  maximum term of supervised release of 1 year, which shall be

  served at the conclusion of, and in addition to, any term of

  imprisonment, as well as the costs of prosecution,

  imprisonment, probation, or supervised release ordered, denial

  of certain federal benefits, and an assessment in the amount of

  $100. At the time the guilty pleas are entered, the defendant
  shall admit to the court that the defendant is, in fact, guilty of

  the offenses charged in these counts. After sentencing, the

  United States will move for dismissal of any remaining counts

  ofthe indictment. The defendant agrees, however, that the

  United States may, at its sole election, reinstate any dismissed
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     charges, or seek additional charges, in the event that any guilty

     plea entered or sentence imposed pursuant to this Agreement is

     subsequently vacated, set aside, or invalidated by any court.

     The defendant further agrees to waive any defenses to

     reinstatement of any charges, or to the filing of additional

     charges, based upon laches, the assertion of speedy   trial rights,

     any applicable statute of limitations, or any other ground. The

     calculation of time under the Speedy Trial Act for when trial

     must commence is tolled as of the date of the defendant's

     signing of this Plea Agreement.

2.   Mandatorv Minimum Sentence. Count 9 and Count 12 each

     carry a mandatory minimum period of imprisonment of 2 years.

     The mandatory minimum sentence on each count shall be

     imposed to run consecutively to any other term of imprisonment

     imposed on the defendant.

3.   Term of Supervised Release. The defendant understands that

     the court must impose a term of supervised release following

     any sentence of imprisonment exceeding one year, or when
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     required by statute. The court may require a term of supervised

     release in any other case. In addition, the defendant

     understands that as a condition of any term of supervised

     release or probation, the court must order that the defendant

     cooperate in the collection of a DNA sample if the collection of a

     sample is so authorized by law.

4.   Maximum Sentence      - Multiple Counts. The defendant
     understands that the total, maximum possible sentence for all

     charges is the combination ofpenalties described abovei that is,

     4 years in prison andior fines    totaling $500,000,   1   year of

     supervised release, the costs of prosecution, denial of certain

     federal benefits and an assessment totaling $200.

5.   No Further Prosecution, Except Tax Charses. The United

     States Attorney's Office for the Middle District of Pennsylvania

     agrees that   it will not bring any other criminal charges against

     the defendant directly arising out ofthe defendant's

     involvement in the offense(s) described above. However,



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          nothing in this Agreement will limit prosecution for criminal tax

          charges, if any, arising out of those offenses.

B.   Fines and Assessments

     6.   Fine. The defendant understands that the court may impose             a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the court, in full, may   be

          considered a breach of this PIea Agreement. Further, the

          defendant acknowledges that willful failure to pay the fine may

          subject the defendant to additional criminal violations and civil

          penalties pursuant to Title 18, United States Code, $ 3611, et

          seq.

     7.   Alternative Fine. The defendant understands that under the

          alternative fine section of Title 18, United States Code, $ 3571,

          the maximum fine quoted above may be increased if the court

          finds that any person derived pecuniary gain or suffered

          pecuniary loss from the offense and that the maximum fine to

          be imposed,   if the court elects to proceed in this fashion, could


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     be twice the amount of the gross gain or twice the amount of the

     gross loss resulting from the offense.

8.   Inmate Financial Responsibilitv Program. If the court orders      a

     fine or restitution as part ofthe defendant's sentence, and the

     sentence includes a term of imprisonment, the defendant agrees

     to voluntarilv enter the United States Bureau of Prisons-

     administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of Prisons

     will collect up to 50% ofthe defendant's prison salary, and up to

     50%   ofthe balance ofthe defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.

9.   Special Assessment. The defendant understands that the court

     will impose   a special assessment of $200 ($t00 on each of

     Counts 9 and 12) pursuant to the provisions of Title 18, United

     States Code, $ 3013. No later than the date of sentencing, the

     defendant or defendant's counsel shall mail a check in payment

     of the special assessment directly to the Clerk, United States
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   District Court, Middle District of Pennsylvania. If the

    defendant intentionally fails to make this payment, that failure

   may be treated as a breach of this Plea Agreement and may

   result in further prosecution, the filing of additional criminal

   charges, or a contempt citation.

10. Collection of Financial Oblisations. In order to facilitate the

   collection of financial obligations imposed in connection with

   this case. the defendant consents and agrees

   a    to fully disclose all assets in which the defendant has an

        interest or over which the defendant has control, directly or

        indirectly, including those held by a spouse, nominee, or

        other third partyi

   b.   to submit to interviews by the Government regarding the

        defendant's financial statusi

   C    to submit a complete, accurate, and truthful financial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entry of the guilty pleai
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         d.   whether represented by counsel or not, to consent to contact

              by and communication with the Government, and to waive

              any prohibition against communication with a represented

              party by the Government regarding the defendant's

              financial statusi

        C     to authorize the Government to obtain the defendant's

              credit reports in order to evaluate the defendant's ability to

              satisfy any financial obligations imposed by the courti and

        f.    to submit any financial information requested by the

              Probation Office as directed, and to the sharing offinancial

              information between the Government and the Probation

              Office.

C.   Sentencine Guidelines Calculation

     11. Determination of Sentencinq Guidelines. The defendant and

        counsel for both parties agree that the United States Sentencing

        Commission Guidelines, which took effect on November 1,,7987,

        and its amendments, as interpretedby United States v. Booker,

        543 U.S. 220 Q00il, wiII apply to the offense or offenses to
                                      B
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   which the defendant is pleading guilty. The defendant further

   agrees   that any legal and factual issues relating to the

   application ofthe Federal Sentencing Guidelines to the

   defendant's conduct, including facts to support any specific

   offense characteristic or other enhancement or adjustment and

   the appropriate sentence within the statutory maximums

   provided for by law, will be determined by the court after

   briefing, a pre-sentence hearing, and/or a sentencing hearing.

12. Specific Sentencins Guidelines llecornmendations. Witir respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

     a.)     Pursuant to U.S.S.G. $ 281.6, the 24-month term

             required by statute to be imposed on Cou:rt 9 ie also

             the guideline sentence for Count 9.

     b.)     Pursuant to U.S.S.G. S 281.6, the 24-month term

             required by statute to be imposed on Count 12 is also

             the guideline Bentenoe for Count 12.


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     c.)    A sentence of imprison'nent of 48 months (the Z+-

            month term on Count 9 run consecutively to thle 24-

            month term on Count 12) ie reaeonable and

            appropriate under the facts and circumstances ofthis

            case and coneistent    with the factors set forth in

            U.S.S.G.   S   5G1.2, Application Note 2(B), concerning

            sentencing multiple counte of conviction under 18

            u.s.c.   $ 1028A.


   Each party reserves the right to make whatever remaining

   arguments it deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that none of

   these recommendations is binding upon either the court or the

   United States Probation Office, which may make different

   findings as to the application ofthe Sentencing Guidelines to

   the defendant's conduct. The defendant further understands

  that the United States will provide the court and the United

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        States Probation Office aII information in its possession that    it
        deems relevant to the application of the Sentencing Guidelines

        to the defendant's conduct.

D.   Sentencing Recornrnendation As To Supervised Releaee

     13. Special Conditions of Probation/Supervised Release.     If
        probation or a term of supervised release is ordered, the United

        States may recommend that the court impose one or more

        special conditions, including but not limited to the following:

        a    The defendant be prohibited from possessing a firearm or

             other dangerous weapon.

        b.   The def'endant make restitution, if applicable, the payment

             of which shall be   in accordance with a schedule to be

             determined by the court.

        C    The defendant pay any fine imposed in accordance with a

             schedule to be determined bv the court.

        d.   The defendant be prohibited from incurring new credit

             charges or opening additional lines of credit without



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        approval ofthe Probation Office unless the defendant is in

        compliance u.ith the payment scl'redule.

   e    The defendant be directed to provide the Probation Office

        and the United States Attorney access to any requested

        financial information.

  f.    The defendant be confined in a community treatment

        center, halfway house, or similar facility.

   g.   The defendant be placed under home confinement.

   h.   The defendant be ordered to perform community service.

   I    The defendant be restricted from working in certain types of

        occupations or with certain individuals, if the Government

        deems sr.rch restrictions to be appropriate.

  j.    The defendant be directed to attend substance abuse

        counseling, which may include testing to determine whether

        the defendant is using drugs or alcohol.

  k.    The defendant be directed to attend psychiatric or

        psychological counseling and treatment in a program

        approved by the Probation Officer.
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         l.   The defendant be denied certain federal benefits including

              contracts, grants, loans, fellowships and licenses.

         m The defendant be directed to pay any state or federal taxes

              and file any and all state and federal tax returns as

              required by law.

E.   Forfeiture of Assete

     14. Forfeiture. The present indictment seeks forfeiture ofthe

         defendant's interests in certain assets. In the event the United

        States seeks to forfeit those assets through a civil proceeding,

        the defendant understands that dismissal of the criminal

        forfeiture allegation in no way limits the United States from

        proceeding civilly against any assets owned or held by the

        defendant or any other party. Defendant agrees to settle any

        civil and criminal forfeiture matters arising out of the offense of

        conviction and its relevant conduct. The defendant agrees that

        the defendant's property constitutes proceeds of, is derived from

        proceeds traceable to, or was used in any manner or part to

        commit or facilitate the commission of the offense of conviction
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   and its relevant conduct. Defendant further agrees to the

   following:

   il   Forfeiture of all properties, real and personal listed in the

        Forfeiture Allegation of the Indictment/Informationi

   b.   Immediate entry of the preliminary order of forfeiture

        and/or the filing of a civil complaint by the United States,

        pursuant to Title 18, United States Code, $ 981;

   (l   Waiver of the right to personal service of all process and

        naming of Dina Chavar Esq., PO Box 750, Pocono Lake, PA

        18347 , as agent for service of   all processi

   d.   Waiver of the right to appear and contest any portion of the

        forfeiture proceedings, including but not limited to, any

        motion or proceeding for substitute assetsi

   e    The filing and entry ofa consent decree of forfeiturei

  f.    Disclosure, no later than upon signing this Agreement, of all

        persons and entities holding an equitable or legal interest in

        the property, real or personal, subject to forfeiture pursuant

        to this Agreementi
                                l4
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   g.   Concurrence in any motion necessary to be filed and signing

        any documents necessary to effectuate forfeiturei

   h.   Payment ofcosts associated with the seizure, storage, and

        maintenance ofthe any asset being returned to the

        defendant as a result of this Agreemenil

   1    In the event any assets are being returned to the defendant,

        such return does not amount to having "substantially

        prevailed" in the pursuit of any claim, and to make no claim

        against the United States or any of its agencies or

        employees, including claims for attorney's fees and costs of

        Iitigationi

  j.    Waiver of any double jeopardy challenges the defendant

        may have to any administrative or civil forfeiture actions,

        pending or completed, arising out ofthe course ofconduct

        forming the basis for the forfeitures.

   k.   Waiver of all constitutional, legal, and equitable claims

        arising out of and/or defenses to the forfeiture of this

        property in any proceeding, including any claim oflnnocent
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        Ownership and any claim or defense under the Eighth

        Amendment, including any claim of excessive fine.

15. Disclosure of Assets This Agreement is being entered by the

    United States on the basis ofthe express representation that

    the defendant is making full and complete disclosure of ail

    assets over which the defendant exercises   control. The

    defendant agrees to submit to a polygraph examination by an

    examiner selected by the Government to verify the defendant's

    complete and candid compliance with this provision of the Plea

   Agreement. The defendant also understands that a failure to

    make a full disclosure or lack ofcandor revealed by a polygraph

   examination would constitute a breach of this Plea Agreement,

    subjecting the defendant to the sanctions set forth in this Plea

   Agreement. Conditioned upon such full disclosure, the United

   States agrees not to seek the seizure/forfeiture of any ofthe

   defendant's assets other than those set forth in this Agreement.

16. No Further Forfeiture. As the result of the forfeitures set forth

   above, the United States agrees not to seek forfeiture of any
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   other asset known to the United States by defendant's

    disclosure to belong to the defendant or the defendant's family

   This Agreement does not prevent the Internal Revenue Service

   from the collection of taxes or the seizure of assets to satisfy

   those taxes.

17. Forfeiture of Interests/Passage of Clear 'f itle/Destruction Order.

   By this Agreement, the defendant agrees to forfeit all interests

   in the assets set forth above and to take whatever steps are

   necessary to pass clear title of those assets to the United States.

   These steps include but are not limited to surrender of title;

   signing ofa consent decreei stipulating to facts regarding the

   transfer and basis for the forfeituresi and concurrence in any

   motion and signing any document necessary to effectuate such

   transfers.

18. Destruction Order/Waivers. The defendant further agrees,

   should the United States deem     it appropriate, to the destruction
   of the items seized during the course of the investigation. The

   defendant agrees that the items may be destroyed by the
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         investigative agency with or without a court order authorizing

         the destruction of the items seized. If the United States

         determines that a destruction order should be obtained. the

         defendant and defendant's counsel hereby concur in a motion for

         such an order. The defendant further agrees to waive all

         interest in the assets in any administrative or judicial forfeiture

         proceeding, whether criminal or civil, state or federal. The

         defendant consents and waives all rights to compliance by the

         United States with any applicable deadlines under 18 U.S.C.     S


         983(a). Any related administrative claim filed by the defendant

        is hereby withdrawn. The defendant agrees to consent to the

        entry of orders of forfeiture for such property and waives the

        requirements of Federal Rules of Criminal Procedure 32.2 and

        43(a) regarding notice of the forfeiture in the charging

        instrument, announcement of the forfeiture at sentencing, and

        incorporation of forfeiture in the judgment

F.   Victims 'Riehts and Re      lita)r



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19. Victims'Rishts. The defendant understands that pursuant to

   the Victim and Witness Protection Act. the Crime Victims'

   Rights Act, the Justice for All Act, and the regulations

   promulgated under those Acts by the Attorney General of the

   United States, crime victims have the following rights:

        The right to be reasonably protected from the accusedi

   b.   The right to reasonable, accurate, and timely notice of any

        public court proceeding or any parole proceeding involving

        the crime, or ofany release or escape ofthe accusedi

   C    The right not to be excluded from any such public court

        proceeding, unless the court, after receiving clear and

        convincing evidence, determines that testimony by the

        victim rvould be altered materially if the victim heard other

        testimony at that proceedingi

   d.   The right to be reasonably heard at any public hearing in

        the district court involving release, plea, sentencing, or any

        parole proceeding. The defendant understands that the

        victim's comments and recommendations at anv of these
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        proceedings may be different than those of the parties to

        this Agreementi

   e    The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victim's opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence of this

        Agreement,

   f.   The right to full and timely restitution as provided for by

        law. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the court is authorized to

        order restitution by the defendant including. but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

   C.   The right to proceedings free from unreasonable delayi and



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   h.   The right to be treated with fairness and with respect for

        the victim's dignity and privacy.

20. Restitution. The defendant acknowledges that, pursuant to the

   Mandatory Restitution Act of April 24, 1,996, Title 18, United

   States Code, $ 36634, the court is required in all instances to

   order full restitution to all victims for the losses those victims

   have suffered as a result ofthe defendant's conduct. The

   defendant also agrees that the Government will seek and the

   court may impose an order of restitution as to victims of the

   defendant's relevant conduct. With respect to the payment of

   restitution, the defendant further agrees that, as part ofthe

   sentence in this matter, the defendant shall be responsible for

   making payment of restitution in full, unless the defendant can

   demonstrate to the satisfaction ofthe court that the defendant's

   economic circumstances do not allow for the payment of       full
   restitution in the foreseeable future, in which   case the

   defendant will be required to make partial restitution

   payments. In addition to the schedule of payments that may be
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   established by the court, the Defendant understands and agrees

   that, pursuant to the Mandatory Victims Restitution Act of

   1996 and the Justice For   A11   Act of 2004, victims of Federal

   (lrime are entitled to full and timelv restitution. As such, these

   payments do not preclude the government from using other

   assets or income of the Defendant to satisfy the restitution

   obligation. The Defendant understands and agrees that the

   United States Attorney's Office, by and through the Financial

   Litigation Unit, has the obligation and the right to pursue any

   legal means, including but not limited to, submission of the debt

   to the Treasury Offset Program, to collect the full amount of

  restitution owed to the victim(s) in a timely fashion. Although

  the defendant may reserve the right to contest the amount of

  restitution owed, the defendant agrees to take all steps to

  facilitate collection of all restitution, including submitting to

  debtor's exams as directed by the Government. Towards this

  goal, the defendant agrees to waive any further notice of

  forfeiture and agrees that the United States may, at its sole
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   election, elect to pursue civil andior criminal forfeiture in the

   amount of the victim restitution owed in this case. and the court

   may enter both a restitution order and a forfeiture judgment in

   the amount ofany unpaid restitution found by the court to be

   due and owing at the time of sentencing in this matter. The

   defendant consents to the filing of any civil complaint or

   superseding information which may be necessary to perfect a

   forfeiture order and further stipulates and agrees that the

   defendant's guilty plea constitutes an admission to all matters

   legally and factually necessary for entry of a forfeiture order in

   this case. The parties agree that any restitution payments

   obtained by the United States or the victim will be applied by

   the United States to reduce both the restitution obligation in

   this   case and   the amount of the outstanding forfeiture order

   entered by the court. The parties further agree that the

   Government will recommend that any assets recovered through

   forfeiture proceedings be remitted to crime victims to reduce the

   defendant's restitution obligation in this case. The defendant
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       acknowledges that the making of any payments does not

       preclude the Government from using other assets or income of

       the defendant to satisfy the restitution obligations. The

       defendant understands that the amount of restitution

       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes of Chapter 2 ofthe Sentencing Guidelines.

G. Information   Provided to Court and Probation Office

   21. Background Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   22. Objections to Pre-Sentence Re port. The defendant understands

       that pursuant to the United States District Court for the Middle

      District of Pennsylvania "Policy for Guideline Sentencing" both

      the United States and defendant must communicate to the
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   Probation Officer within 14 days after disclosure ofthe pre-

   sentence report any objections they may have as to material

   information, sentencing classificzrtions, sentencing guideline

   ranges, and policy statements contained in or omitted from the

   report. The defendant agrees to meet with the United States at

   least five days prior to sentencing in a good faith attempt to

   resolve any substantive differences. If any issues remain

   unresolved, they shall be communicated to the Probation Officer

   for inclusion in an addendum to the pre-sentence report. The

   defendant agrees that unresolved substantive objections will be

   decided by the court after briefing, or a pre-sentence hearing, or

   at the sentencing hearing where the standard or proof will be a

   preponderance ofthe evidence, and the Federal Rules of

   Evidence, other than with respect to privileges, shall not apply

  under Fed. R. Evid. 1101(d)(3), and the court may consider any

  reliable evidence, including hearsay. Objections by the

   defendant to the pre-sentence report or the court's rulings,   will
   not be grounds for withdrawal of a plea of guilty.
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23. Relevant Sentencins Information. At the sentencing, the

   United States will be permitted to bring to the court's attention,

   and the court wiII be permitted to consider, all relevant

   information about the defendant's background, character and

   conduct, including the conduct that is the subject ofthe charges

   that the United States has agreed to dismiss, and the nature

   and extent of the defendant's cooperation, if any. The United

   States will be entitled to bring to the court's attention and the

   court will be entitled to consider any failure by the defendant to

   fulfill any obligation under this Agreement.
24. Non-Limitation on Government's Response. Nothing in this

   Agreement shall restrict or limit the nature or content of the

   United States' motions or responses to any motions filed on

   behalf of the defendant. Nor does this Agreement in any way

   restrict the government in responding to any request by the

   court for briefing, argument or presentation of evidence

   regarding the application ofSentencing Guidelines to the


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        defendant's conduct, including but not limited to, requests for

        information concerning possible sentencing departures.

H.   Court Not Bound by Plea Aereement

     25. Court Not Bound by Terms. The defendant understands that

        the court is not a party to and is not bound by this Agreement,

        or any recommendations made by the parties. Thus, the court is

        free to impose upon the defendant any sentence up to and

        including the maximum sentence of imprisonment for 4 years, a

        fine of $500,000, a term of supervised release of up to   1   year,

        which shall be served at the conclusion of and in addition to any

        term of imprisonment, the costs of prosecution, denial of certain

        federal bene{its, and assessments totaling $200.

     26. No Withdrawal of Pl eaB ased on Sentence or Recommendations.

        If the court imposes a sentence with which the defendant is

        dissatisfied, the defendant will not be permitted to withdraw

        any guilty plea for that reason alone, nor will the defendant be

        permitted to withdraw any pleas should the court decline to


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       follow any recommendations by any of the parties to this

       Agreement.

I   Breach of PIea Aprre ement bv Defendant

    27. Breach of Asreement. In the event the United States believes

       the defendant has failed to fulfill any obligations under this

       Agreement, then the United States shall, in its discretion, have

       the option of petitioning the court to be relieved ofits

       obligations. Whether the defendant has completely fulfilled all

       of the obligations under this Agreement shall be determined by

       the court in an appropriate proceeding during which any

       disclosures and documents provided by the defendant shall be

       admissible, and during which the United States shall be

       required to establish any breach by a preponderance ofthe

       evidence. In order to establish any breach by the defendant, the

       United States is entitled to rely on statements and evidence

       given by the defendant during the cooperation phase ofthis

       Agreement, if any.



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28. Remedies for Breach. The defendant and the United States

   agree that in the event the court concludes that the defendant

   has breached the Agreement:

   it   The defendant will not be permitted to withdraw any guilty

        plea tendered under this Agreement and agrees not to

        petition for withdrawal of any guilty pleai

   b.   The United States will be free to make any

        recommendations to the court regarding sentencing in this

        CASE,


   C    Any evidence or statements made by the defendant during

        the cooperation phase of this Agreement, if any, will be

        admissible at any trials or sentencingsi

   d.   The United States will be free to bring any other charges   it
        has against the defendant, including any charges originally

        brought against the defendant or which may have been

        under investigation at the time ofthe plea. The defendant

        waives and hereby agrees not to raise any defense to the



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       reinstatement of these charges based upon collateral

       estoppel, Double Jeopardy, or other similar grounds.

29. Violation of Law While PIea or Sentence Pendine. The

   defendant understands that it is a condition of this Plea

   Agreement that the defendant refrain from any further

   violations of state, local, or federal law while awaiting plea and

   sentencing under this Agreement. The defendant acknowledges

   and agrees that if the government receives information that the

   defendant has committed new crimes while awaiting plea or

   sentencing in this case, the government may petition the court

   and, if the court finds by a preponderance ofthe evidence that

   the defendant has committed any other criminal offense while

   awaiting plea or sentencing, the Government shall be free at its

   sole election to   either: (a) withdraw from this Agreementi or (b)

   make any sentencing recommendations to the court that       it
   deems appropriate. The defendant further understands and

   agrees that, if the court finds that the defendant has committed

   any other offense while awaiting plea or sentencing, the
                                 30
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        defendant will not be permitted to withdraw any guilty pleas

        tendered pursuant to this Plea Agreement, and the government

        will be permitted to bring any additional charges that it may

        have against the defendant.

J.   Deportation

     30. Deportation/Removal from the United States. The defendant

        understands that, if defendant is not a United States citizen,

        deportation/removal from the United States is a likely

        consequence of   this plea. The defendant further agrees that

        this matter has been discussed with counsel who has explained

        the immigration consequences of this plea. Defendant still

        desires to enter into this plea after having been so advised.

K.   Appeal Waiver

     31. Appeal Waiver   - Direct. The defendant   is aware that Title 28,

        United States Code, $ 1291 affords a defendant the right to

        appeal a judgment of conviction and sentencei and that Title 18,

        United States Code, $ 37a2G) affords a defendant the right to

        appeal the sentence imposed. Acknowledging all of this, the
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         defendant knowingly waives the right to appeal the conviction

         and sentence. This waiver includes any and all possible

         grounds for appeal, whether constitutional or non-

         constitutional, including, but not limited to, the manner in

         which that sentence was determined in light of United States     v.


         Booker,543 U.S. 220 (2005). The defendant further

         acknowledges that this appeal waiver is binding only upon the

         defendant and that the United States retains its right to appeal

        in this   case.

L.   Other Pmvisions

     32. Asreement Not Bindins on Other Aeencies. Nothing in this

        Agreement shall bind any other United States Attorney's Office,

        state prosecutor's office, or federal, state or Iocal law

        enforcement agency.

     33. No Civil Claims or Suits. The defendant agrees not to pursue or

        initiate any civil claims or suits against the United States of

        America, its agencies or employees, whether or not presently

        known to the defendant, arising out ofthe investigation,
                                     co
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    prosecution or cooperation, if any, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out ofthe investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

34. Plea     ement Serves Ends of Justice. The United States is

   entering into this Plea Agreement with the defendant because

   this disposition ofthe matter fairly and adequately addresses

   the gravity ofthe series of offenses from which the charges are

   drawn, as well as the defendant's role in such offenses, thereby

   serving the ends of justice.

35. Mereer of All Pri or Neeotiations. This document states the

   complete and only Plea Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea
                                  33
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    offers, whether written or oral. This agreement cannot be

    modified other than in writing that is signed by all parties or on

    the record in court. No other promises or inducements have

    been or will be made to the defendant in connection with this

    case, nor have any predictions or threats been made   in

    connection with this plea. Pursuant to Rule 11 ofthe Federal

   Rules of Criminal Procedure. the defendant certifies that the

    defendant's plea is knowing and voluntary, and is not the result

   offorce or threats or promises apart from those promises set

   forth in this written Plea Agreement

36. Defendant is Satisfied with Assist ance of Counsel. The

   Defendant agrees that the defendant has discussed this case

   and this plea agreement in detail with the defendant's attorney

   who has advised the defendant ofthe defendant's Constitutional

   and other trial and appeal rights, the nature ofthe charges, the

   elements of the offenses the United States would have to prove

   at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and
                               D.+
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   other aspects of sentencing, potential losses of civil rights and

   privileges, and other potential consequences ofpleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the legal services and advice provided to the

   defendant by the defendant's attorney.

37. Deadline for Acceptance of Plea Aereement. The original of this

   Agreement must be signed by the defendant and defense

   counsel and received by the United States Attorney's Office on

   or before 5:00 p.m., on July 6,2021,, otherwise the offer may, in

   the sole discretion of the Government. be deemed withdrawn.

38. Reouired Sisnatures. None of the terms of this Agreement shall

   be binding on the Office of the United States Attorney for the

   Middle District of Pennsylvania until signed by the defendant

   and defense counsel and then signed by the United States

   Attorney or his designee.




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                         ACKNOWI.EDGIVMNTS

      I have read this agreement and
                                      carefully reviewed every part of it
 with my attorney. I fully understand
                                      it and I volun tarily       1t.

/o
  ate
                                           ERNEST STO
                                           Defendant


       I am the defendant,s counsel.   I have   c
of this a     ment with the                                       every part
deci n enter into this                                            client's
                                   nt is                               one.
/0
Date
                                               CHAVAR, ESQ.
                                         Co unsel for Defendant




                                         BRUCE D. BRANDLER
                                         Acting Udted States Attornev

/o t)   z                        By:
Date
                                                        JOHN
                                                    nl ted States Attorney




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